USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 1 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 2 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 3 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 4 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 5 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 6 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 7 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 8 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 9 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 10 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 11 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 12 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 13 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 14 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 15 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 16 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 17 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 18 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 19 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 20 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 21 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 22 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 23 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 24 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 25 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 26 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 27 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 28 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 29 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 30 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 31 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 32 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 33 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 34 of 35
USDC IN/ND case 1:12-cv-00282-PPS document 1 filed 08/21/12 page 35 of 35
